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 5
     MOISES TORRES
 6

 7

 8                               UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                       Case No.: 2:15-CR-164 TLN
11
     UNITED STATES OF AMERICA,
12
                    Plaintiff,                         ORDER TO CONTINUE SENTENCING
13                                                     HEARING AND MODIFY PRE-SENTENCE
14   vs.                                               REPORT DEADLINES

15   MOISES TORRES,
16                                                     Court:      Hon. Troy L. Nunley
                    Defendant.
17                                                     Date:       July 26, 2018
                                                       Time:       9:30 a.m.
18

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22
            The parties to this action, Plaintiff United States of America by and through Assistant
23

24   U.S. Attorney Samuel Wong and Attorney Todd D. Leras on behalf of Defendant Moises Torres,

25   submit this request to continue the date presently set for Judgment and Sentencing in the above-
26
     reference matter from April 19, 2018 to July 26, 2018. The defense needs additional time to
27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
              Case 2:15-cr-00164-TLN Document 120 Filed 04/11/18 Page 2 of 3


 1   obtain mitigation evidence in support of its sentencing request.
 2
            The defense investigator working on gathering mitigation materials was responsible for
 3
     arranging health and daily care for his mother following her suffering an illness in late February
 4
     2018. That illness resulted in her death on March 6, 2018. The investigator has therefore been
 5

 6   occupied with planning the funeral and taking care of settling her estate. He did not return to

 7   work until March 26, 2018. Given these circumstances, the defense needs additional time to
 8
     conduct investigation and gather materials in support of its sentencing request as allowed under
 9
     the express terms of the Plea Agreement.
10
            The government does not oppose the request and the assigned probation officer is
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12   available to appear on the requested date. The draft Pre-Sentence Report, Informal Objections,

13   and filing of the Final Pre-Sentence Report have already occurred. It is therefore requested that
14
     the Court modify its previously-set pre-sentence report disclosure schedule as follows:
15
            1. Motion for Correction Date: July 12, 2018; and
16
            2. Reply/ Sentencing Memorandum Date: July 19, 2018.
17

18          This request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial

19   Act is not required. Assistant U.S. Attorney Samuel Wong has reviewed this proposed order and
20
     authorized Todd D. Leras to sign it on his behalf.
21
     DATED: April 10, 2018                                McGREGOR W. SCOTT
22                                                        United States Attorney
23

24                                                        By      /s/ Todd D. Leras for
                                                                  SAMUEL WONG
25                                                                Assistant United States Attorney
                                                                  (via email authorization)
26

27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
              Case 2:15-cr-00164-TLN Document 120 Filed 04/11/18 Page 3 of 3


 1   DATED: April 3, 2018                               By     /s/ Todd D. Leras
                                                               TODD D. LERAS
 2
                                                               Attorney for Defendant
 3                                                             MOISES TORRES

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 7                                              ORDER
 8
            The Judgment and Sentencing Hearing in this matter is continued to July 26, 2018, at
 9
     9:30 a.m. The Court adopts the Motion for Correction/Sentencing Memorandum schedule
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     proposed by the parties.
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12          IT IS SO ORDERED.

13   Dated: April 10, 2018
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15
                                                       Troy L. Nunley
                                                       United States District Judge
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
